IN THE UNITED STATES DISTRICT COURT |
FOR THE EASTERN DISTRICT OF TENNESSEE my h28 2B #03
AT KNOXVILLE 119 G2

 

PAULETTE MYERS JAMES,

' Plaintiff,

| DiO-pye2
Civil Action No. BK (WM Sb

Collier [opi

SASE COMPANY, LLC,

 

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Vv. )
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Defendant. )

 

COMPLAINT

 

I. NATURE OF THE CASE
1. This is an action seeking redress for the plaintiff for the conduct of the
defendant constituting employment discrimination in violation of the Age Discrimination in
Employment Act (ADEA), 29 U.S.C. § 621 et Seq., and the Tennessee Human Rights Act
(THRA), Tenn. Code Ann. § 4-21-101 ef seq.., as well as for failure to pay overtime
compensation and retaliation in violation of the Fair Labor Standards Act (FLSA), 29 U.S.C. §

201 et seq., and Tennessee statutory and common law claims related to misrepresentation.

I. JURISDICTION AND VENUE
2. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331,
because this case involves federal questions based on federal statutes (ADEA and F LSA). The

Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) to address the state

law claims contained herein.

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3. Venue in the Eastern District of Tennessee is appropriate pursuant to 28 U.S.C. §
1391(b) because a substantial part of the events or omissions giving rise to the claims occurred in

Blount County, Tennessee, which is included in this judicial district.

| lll. PARTIES

4, Plaintiff Paulette Myers James (“Plaintiff? or “Ms. Myers James”), is a resident of
Blount County, Tennessee. Her date of birth is XX/XX/ 1947. During the time relevant to this
Complaint, Ms. Myers James was employed by Defendant SASE Company, LLC.

5. Defendant SASE Company, LLC (“Defendant” or “SASE”), formed in the State
of Washington as a limited liability company. Defendant operates a business that sells concrete
preparation and polishing equipment. It is registered to do business in Tennessee and has an
operations center in Rockford, Blount County, Tennessee. Defendant’s principal address is
26423 79th Ave. S., Kent, WA 98032-7321, and its registered agent for service of process is
Capitol Corporate Services, Inc. at 992 Davidson Dr. Suite B, Nashville, TN 37205-1051.

6. At all relevant times, Defendant SASE was an “employer,” as that term is defined
by the ADEA, 29 U.S.C. §630(b), the THRA, Tenn. Code Ann. §4-21-102(5), and FLSA, 29
U.S.C. §203(d).

7. At all relevant times, Ms. Myers James was an “employee” of Defendant as
defined by the FLSA, 29 U.S.C. §203(e).

8. Defendant is and, at all times hereinafter mentioned, was an enterprise
engaged in commerce or in the production of goods for commerce within the meaning of 29
U.S.C. § 203(s)(1)(A), in that said enterprise had employees engaged in commerce or in the

production of goods for commerce, or employees handling, selling, or otherwise working on

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goods or materials that have been moved in or produced for commerce, and that said
enterprise has annual sales of not less than $500,000.

9. At all relevant times, Defendant has employed at least 50 employees.

IV. CONDITIONS PRECEDENT

10. Ms. Myers James timely filed a charge of discrimination with the Equal
Employment Opportunity Commission (“EEOC”) alleging that Defendant SASE engaged in
unlawful discrimination in violation of the ADEA.

1l:. The EEOC issued a Dismissal and Notice of Rights letter dated May 31, 2018,
and received by her after that date.

12. This Complaint is timely filed in this Court within ninety days from the date Ms.
Myers James received the notice of her right to file a lawsuit in court. All administrative

conditions precedent to filing this action have been met.

V. FACTUAL ALLEGATIONS
13. Plaintiff Myers James worked in the position of Accounts Payable Associate for
Defendant SASE from 2010 to 2018. During the entiré time that she worked for Defendant, her
primary duties included processing invoices and making payments on behalf of Defendant,
preparing expense reports, and related bookkeeping and clerical duties.
14. Ms. Myers James was qualified for the position of Accounts Payable Associate.
She worked in that position for eight years prior to her termination and received merit raises and
performance bonuses. During the entire time that she worked for Defendant, she remained an

employee in good standing until the moment of her unlawful termination.

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15. From June 2010 until February 2017, Ms. Myers James worked at the SASE
office in Kent, Washington.

- 16. Between 2015 and 2016, SASE entered a period of rapid growth, with annual
revenue increasing from approximately $15 million to approximately $43 million.
Consequently, in late 2015 or early 2016, Ms. Myers James’ workload significantly increased
because she was the sole SASE employee who handled Accounts Payable (“AP”). During the
last three years of her employment, Ms. Myers James routinely worked in excess of 40 hours per |
week in order to complete the work that Defendant required of her.

17. Defendant considered Ms. Myers James a “salaried” employee and did not
instruct her to keep records of her hours worked or pay her overtime for hours worked over 40
per week. Defendant paid Ms. Myers James $1575 twice monthly, regardless of how many
hours she worked in the pay period, even though each pay check she received purported on its
face to cover 86 hours of work.

18. | The FLSA requires covered employers, such as Defendant, to compensate non-
exempt employees at a rate of not less than one and one-half times the regular rate of pay for
work performed in excess of 40 hours per work week. During the applicable statutory period,
Defendant permitted Ms. Myers James to routinely work more than 40 hours per week without
overtime compensation.

19. During the applicable statutory period, Ms. Myers James’ primary job duties were
such that she should have been paid overtime compensation for all hours worked over 40 in a
work week.

20. Ms. Myers James did not perform exempt duties during the applicable statutory

period. For example, she did not customarily and regularly direct the work of two or more full-

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time employees of Defendant. Also, she did not have the authority to hire or fire other
employees, nor did she ever recommend that Defendant’s employees be fired or disciplined.
Further, her primary duties did not require her to exercise discretion and independent judgment
on significant business matters. Any significant decision-making regarding vendor accounts and
accounts payable were made by her supervisors or other employees of Defendant. She was
required to seek approval for any non-routine payments that she made on behalf of SASE.

21. Beginning in 2016, Ms. Myers James routinely complained to her supervisors
about her long work hours and the lack of additional pay to compensate her for the increase in
work, and/or she questioned her supervisors about whether she should be receiving overtime
compensation. For example, she complained that she was working up to 12 hours a day but only
getting paid for 8 hours. When she questioned her supervisors about whether she should be
receiving overtime compensation, Ms. Myers James was simply told that she was salaried and
that Defendant does not pay overtime.

22. To Ms. Myers James’ knowledge, Defendant classifies all of its employees as
“salaried” employees who do not receive overtime compensation.

23. In October 2016, Defendant offered to Ms. Myers James a transfer to the
Rockford, Tennessee offices of SASE, located near Knoxville, Tennessee, for at least two years,
with the option of remaining for a third year. Ms. Myers James accepted and started work in the
Rockford offices on February 20, 2017. Per agreement, SASE paid for Ms. Myers James to
move from Kent, Washington, to the Knoxville, Tennessee area. Defendant also agreed to
reimburse Ms. Myers James for two round-trip airplane tickets per year from Knoxville to Kent,

Washington for 2017 and 2018.

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24. In proposing the transfer from Washington to Tennessee, SASE management told

Ms. Myers James that she would receive help in the AP department so that she would no longer

| have to work over 40 hours per week. Specifically, Ms. Myers James was to receive help from
an employee named Meghan Moore, whom Ms. Myers James would also train so that she could
become Ms. Myers James’ back up in performing AP duties. Ms. Moore was substantially .
younger than Ms. Myers James.

25. After starting in the Rockford office, Ms. Myers James had concerns about Ms.
Moore, including Ms. Moore’s resistance to training, which resulted in Ms. Myers James
continuing to have to work more than 40 hours per week to accomplish her duties. Ms. Myers
James complained to her direct supervisor in Tennessee and Defendant’s Controller, Larry
Bowlby, as well as his supervisor and Vice President of Operations, John Abrahamson, about her
continued demanding workload and long work hours. She spoke to both men about the
representations that had been made to her about receiving help once she moved to Tennessee so
that her workload would decrease.

26. After Ms. Myers James had been in the Tennessee office for a year, she continued
to work an average of over 60 hours per week. Mr. Abrahamson did not remedy the situation or
take any efforts, to Ms. James’ knowledge, to correct Ms. Moore’s behavior or performance,
despite acknowledging that Ms. Moore’s performance was subpar and despite knowing of Ms.
Myers James’ long working hours without additional pay. |

27. During her last three years of working at SASE, Ms. James worked an average of
62 hours per week.

28. - Ms. Myers James arranged a meeting with her supervisors Mr. Bowlby and Mr.

Abrahamson, for March 1, 2018. She requested this meeting to discuss her concerns about Ms.

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Moore’s performance and attitude and her own continued difficult work load, as well as to
request that, in the least, Ms. Myers James’ pay be increased to reflect the amount of work she
was doing.

29. During the March 1, 2018 meeting, Ms. Myers James passed out notes that
detailed some of her concerns and complaints, including that she was still working over eight
hours per day and on most weekends, had not gotten a pay increase in two years, and that her job
needed to be handled by two people. Shortly after the meeting began and while reviewing the |
notes that Ms. Myers James had provided to him, Mr. Abrahamson abruptly stopped the meeting
and notified Ms. Myers James that her employment was being terminated. The reasons he gave
for her discharge was that Tennessee is “‘a right to work state,” which he said meant that he could
fire her without cause, and he also alleged that she created a “toxic work environment.”

30. Mr. Abrahamson alleged that Ms. Myers James created a “toxic work
environment,” in part, because she was working more hours than the regular 9 A.M. TO 5 P.M.
schedule, including on nights and weekends, which he believed was a liability for the company.

31. In addition to having to work long hours just to complete her required AP tasks,
Ms. Myers James also routinely worked after normal business hours in Tennessee because most
of Defendant’s vendors were on the West Coast, and when she transferred to the Knoxville area,
she needed to work after 5:00 P.M. to accommodate the time difference and handle the accounts.
Ms. Myers James’ supervisors, including Mr. Abrahamson, knew Ms. Myers James routinely
worked after hours but did not instruct her to. stop or raise any complaints to her about her work

hours until terminating her on March 1, 2018.

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32. Ms. Myers James was 70 years old at the time of her discharge. After discharging
Ms. Myers James, Defendant replaced her with Meghan Moore, who was 26 years old at the
time.

33.  Defendant’s decision to discharge Ms. Myers James was without warning. Ms.
Myers James had not been subjected to any prior disciplinary action or any negative performance
assessments for several years preceding her termination, nor was she given an opportunity to
correct any alleged workplace misconduct or performance deficiencies. Even Mr. Bowlby, Ms.

‘Myers James’ first-level supervisor, expressed surprise at the sudden termination. Mr.
Abrahamson ordered Ms. James to gather her belongings and leave immediately on March 1,
2018, without finishing the workday.

34. Although Mr. Abrahamson alleged that he had discussed plans to discharge Ms.
Myers James with other managers and officers, one of Defendant’s owners called her to discuss
what happened because he only learned about her discharge through an e-mail sent by Mr.
Abrahamson after he had already discharged Ms. Myers James.

35. Defendant, through Mr. Abrahamson, fired Plaintiff Myers-James because of her
age and because of her complaints about her long work hours without adequate compensation.
The reasons given for her discharge are pretext to mask Defendant’s true discriminatory and
retaliatory motives.

36. | Ms. Myers James only agreed to move to Tennessee to work in Defendant’s
Tennessee offices because of certain representations made by SASE management; namely, that
she. would receive assistance with her work in Tennessee so that she would no longer need to

work more than eight hours per day, and that she would continue working for Defendant for at

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least two years, with the option to remain a third year. Ms. Myers James would not have agreed
to change her work location to Tennessee absent these representations.

37. Defendant either intentionally misrepresented information to Ms. Myers James
about her expected work hours and years remaining of employment or else failed to exercise
reasonable care in obtaining and communicating accurate information to her.

38. | Ms. Myers James reasonably relied, to her detriment, on the false promises and

| representations made to her about her work conditions in Tennessee and terms of her
employment contract.

39. Because of Defendant’s actions, Ms. Myers James has suffered lost wages and
benefits and other economic damages, as well as non-economic injuries including emotional
distress, mental anguish, humiliation, and other pain and suffering.

40.  Defendant’s discrimination and other actions against Ms. Myers James described

herein were carried out willfully, intentionally, maliciously, and with reckless indifference to her

rights under the law.

VI. CAUSES OF ACTION
Count 1: Age Discrimination
41. Plaintiff re-alleges and incorporates herein the preceding paragraphs.

42. Defendant discriminated against Plaintiff Myers James because of her age, in

violation of the ADEA and THRA.

Count 2: Violations of the FLSA

43. Plaintiff re-alleges and incorporates herein the preceding paragraphs.

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44. As a result of its actions and the conduct described above, Defendant has violated
the provisions of the FLSA, 29 U.S.C. §201 et seq., specifically §207(a)(1), with respect to
Plaintiff.

45. By failing to accurately record, report, and/or preserve records of all hours
worked by Plaintiff, Defendant has failed to make, keep, and preserve records with respect to
Plaintiff sufficient to determine her wages, hours, and other conditions and practice of -
employment, in violation of the FLSA, 29 U.S.C. §201, et seg.

46. . The foregoing conduct on the part of Defendant constitutes willful violations of
the FLSA within the meaning of 29 U.S.C. §255(a), as Defendant knew or showed reckless
disregard for the fact that its compensation practices with respect to Plaintiff were in violation of
federal law.

47. Defendant discriminated against Plaintiff by retaliating against her and

discharging her because of her exercise of her rights under the FLSA, in violation of 29 U.S.C.

§218c.

Count 3: Violation of Tenn. Code Ann. § 50-1-102
48. Plaintiff realleges and incorporates the preceding paragraphs.
49, Defendant used false or deceptive representations, false advertising, and/or false

pretenses to induce Ms. Myers James to change her place of employment from Washington state to

Tennessee, in violation of Tenn. Code Ann. § 50-1-102.

Count 4: Fraudulent and/or Negligent Misrepresentation

50. _ Plaintiff realleges and incorporates the preceding paragraphs.

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51. Defendant either fraudulently or negligently misrepresented to Ms. Myers James that
her job would require less work hours in Tennessee than it did in Washington and that she would be
able to continue working for at least two years, and Ms. Myers James reasonably relied upon this

misrepresentation in accepting the job transfer.

Count 5: Promissory Estoppel and/or Fraud
52. Plaintiff realleges and incorporates the preceding paragraphs.
53. Defendant made unambiguous promises to Plaintiff with regards to the terms and

conditions of her employment in Tennessee, which promises were broken either through fraud or

otherwise.

54. Plaintiff reasonably relied upon the promises made by Defendant to her detriment,

and she has suffered damages as a result of her reasonable and detrimental reliance.

V. Prayer for Relief

57. Plaintiff Ms. Myers-James requests that the Court grant her the following relief:

a. Enter judgment for Plaintiff and against Defendant; declare that the actions of
Defendant violate the ADEA, THRA, FLSA, and Tennessee statutory and common law;

b. Order Defendant to pay Plaintiff back pay, benefits, increments, and financial
adjustments to which she is entitled;

ce. Order Defendants to reinstate Plaintiff or, in the alternative, to award her front
pay;

d. Order Defendant to pay Plaintiff relocation expenses and other non-wage

economic damages that Plaintiff has suffered as a result of Defendant’s unlawful actions;

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e. Award Plaintiff liquidated damages for Defendant’s willful violations of the

ADEA and the FLSA;

f. Award Plaintiff compensatory damages for Defendant’s intentional violations
of state and federal law;

g. Award Plaintiff punitive damages for Defendant’s unlawful actions which were
done intentionally, maliciously, and/or with reckless indifference toward Plaintiff’s rights;

h. Award Plaintiff reasonable attorney’s fees and costs of this cause;

i. Award Plaintiff interest and any other relief this Court deems just, proper, and

equitable.

58. Plaintiff requests a jury trial in this cause.

Respectfully submitted pro se ti day of

ya 2018,

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